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           EXHIBIT	B	
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Russell Ainsworth                                                                        Debra Loevy-Reyes
Steve Art
Roshna Bala Keen
Vincenzo Field
                                    LOEVY & LOEVY                                          Elizabeth Mazur
                                                                                           David B. Owens
                                                                                             Scott Rauscher
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Michael Kanovitz                                                                        Anand Swaminathan
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                                          January 30, 2014

Via electronic mail and U.S. Mail
James G. Sotos                        Eileen E. Rosen
Elizabeth A. Ekl                      John Joseph Rock
Jeffrey N. Given                      Stacy Ann Benjamin
Caroline P. Golden                    Catherine Barber
The Sotos Firm, P.C.                  Rock Fusco & Connelly, LLC
550 East Devon, Suite 150             321 N. Clark Street, Suite 2200
Itasca, Illinois 60143                Chicago, Illinois 60654

         Re: Jacques Rivera v. Reynaldo Guevara, et al., No. 12 C 4428

Dear Counsel,

       Pursuant to the Court’s order of January 16, 2014, Plaintiff provides the Defendants the
following list of 10 witnesses for trial:

         1.       Joseph Miedzianowski
         2.       Salvador Ortiz*
         3.       Samuel Perez*
         4.       Wilfredo Rosario*
         5.       Luis Figueroa
         6.       David Velazquez
         7.       Jose Melendez*
         8.       Edwin Davilla*
         9.       Julio Sanchez*
         10.      Robert Ruiz*

       All witnesses on this list, with the exception of Mr. Miedzianowski, have been disclosed
previously. Please consider this letter a supplement to Plaintiff’s previous witness disclosures and
discovery responses. In addition, please note that Plaintiff reserves his right to question William
Dorsch, who has been disclosed previously by all parties in the case, on any subject at trial.

       Plaintiff does not by the above disclosure of trial witnesses limit his right to conduct written
discovery and issue subpoenas relating to facts identified in the parties’ responses to discovery—
including facts identified in Plaintiff’s First Supplemental Response to the First Sets of
Interrogatories of Defendants Fallon, Gawrys, Guevara, Guzman, Leonard, McLaughlin, Mingey,
Noon, Rinaldi, Zacharias, Weingart, Sparks, and the City of Chicago—or to rely upon those facts
during discovery and at trial.
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January 30, 2014
Rivera v. Guevara, et al.
                                                                       LOEVY & LOEVY
All Counsel of Record                                                   ATTORNEYS AT LAW
                                                                       _____________________________
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        Finally, please note that the witnesses above marked with an asterisk were deposed by the
parties to this case during the Juan Johnson v. Guevara, et al. litigation. Given their prior
deposition testimony, we trust that the parties will not need to re-depose these third parties in this
case. If you disagree, please contact us at your soonest convenience to discuss the issue. Otherwise,
we will assume that you will not issue subpoenas for these witnesses’ depositions.

       Do not hesitate to contact me with any questions that you may have. Thank you, as always,
for your cooperation in this matter.

                                                          Sincerely,




                                                          Steven Art

cc: Roderick MacArthur Justice Center
